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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig           )            Civil Action
       “Deepwater Horizon” in the Gulf    )            Case No.: 10-MDL-2179
       Of Mexico, on April 20, 2010       )
                                          )
                                          )            Section “J”
                                          )            Judge Barbier
                                          )
Applies to:    All Cases, 10-8888         )
                                          )            Magistrate “1”
                                          )            Magistrate Judge Shushan

                                          ORDER
Considering the foregoing Motion:

       IT IS ORDERED that Reid S. Uzee (Bar No. 31345) be permitted to withdraw as counsel

of record for the following Plaintiffs:

   •   Darrel Casimire Gonzales (***-**-4682): R. Doc. 76136

   •   Eugene Joseph Anglada (***-**-5718): R. Doc. 76129

   •   Elwood James Morales, Jr. (***-**-2205): R. Doc. 76132

   •   Howard John Serigne, Sr. (***-**-5191): R. Doc. 76128

   •   Christopher Trey Guidroz (***-**-3347): R. Doc. 76137

   •   David Wayne Casanova, Sr. (***-**-3727): R. Doc. 76134

   •   Rodney Anthony Anglada (***-**-9261): R. Doc. 76133

   •   Donald Ray Lemoine (***-**-9875): R. Doc. 76130


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•   Warren Adam Evans, III (***-**-1242): R. Doc. 76131

•   Randi Michelle Alfonso (***-**-3537): R. Doc. 76139

•   Randy M. Alfonso Seafood (***-**-4760): R. Doc. 76135

    New Orleans, Louisiana, on this ___ day of June, 2012.


                                        _____________________________________
                                           UNITED STATES DISTRICT JUDGE




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